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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 20-80545-CIV-MARRA


      SHARON PROLOW and
      MARK LEMMERMAN,
      on behalf of themselves and
      all others similarly situated,

                               Plaintiffs,
                      v.

      AETNA LIFE INSURANCE
      COMPANY,

                       Defendant.
      _____________________________________/

                     SECOND AMENDED CLASS ACTION COMPLAINT1

            Plaintiffs Sharon Prolow and Mark Lemmerman, individually and on behalf of

      all others similarly situated, bring this Class Action Complaint against Defendant

      Aetna Life Insurance Company (“Aetna”), pursuant to Rule 23 of the Federal Rules

      of Civil Procedure, and allege as follows:

                                                    INTRODUCTION

           1.         This is a class action on behalf of beneficiaries of ERISA plans

  administered by Aetna who were denied Proton Beam Radiation Therapy (“PBRT”)

  because of Aetna’s uniform application of an unlawful medical policy to deny as

  experimental or investigational such treatment for cancer, despite PBRT being



  1This amended complaint is being filed with written consent of Aetna Life Insurance
  Company pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure. It has been
  amended to add an additional class representative and individual allegations
  pertaining to him.
                                                      Colson Hicks Eidson
             255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  recognized for decades by the medical community as an established, medically

  appropriate treatment for cancer, including breast cancer and prostate cancer.

            2.   Instead of acting solely in the interests of the participants and

  beneficiaries of its health insurance plans, upon information and belief, Aetna denied

  coverage for PBRT to treat cancer because, on average, PBRT is significantly more

  expensive than traditional Intensity Modulated Radiotherapy (“IMRT”) or other

  treatments.

            3.   In denying coverage, Aetna follows its Clinical Policy Bulletin No. 270

  (“Proton Beam, Neutron Beam, and Carbon Ion Radiotherapy”), which was initially

  created in 1998 and reviewed most recently on July 29, 2019, (the “PBRT Clinical

  Policy Bulletin”). While Aetna’s PBRT Clinical Policy Bulletin considers PBRT

  “medically necessary” for persons 21 years old or younger for all types of cancer, it

  mandates the denial of coverage for PBRT as “experimental and investigational” to

  treat most cancers on patients over 21 years old for all plans insured or administered

  by Aetna.

            4.   When relying on its PBRT Clinical Policy Bulletin to reach its desired

  outcome, Aetna ignores or disregards recent clinical studies demonstrating the

  effectiveness of PBRT, the patient’s medical records, and the recommendations of

  treating physicians that request PBRT as the proper treatment for their patients.

            5.   By promulgating and applying its PBRT Clinical Policy Bulletin, Aetna

  has sacrificed the interests of insureds like Ms. Prolow and Class members so that it

  can artificially decrease the number and value of claims it is required to pay from its

  own assets (i.e., with respect to fully insured plans as well as self-funded plans with
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  stop-loss provisions requiring Aetna to cover benefits above a certain threshold) and

  the assets of its employer-sponsored customers (i.e., with respect to other self-funded

  plans), as well as to profit from the interest income in accounts maintained on behalf

  of self-funded plans.

            6.    Under ERISA, Plaintiffs and Class members are entitled to equitable

  and declaratory relief enjoining the application of Aetna’s PBRT Clinical Policy

  Bulletin and awarding such other relief the Court finds appropriate.

                                      THE PARTIES

            7.    Plaintiff Sharon Prolow is a citizen of Florida who resides in Palm Beach

  Gardens, Palm Beach County, Florida.

            8.    Plaintiff Mark Lemmerman is a citizen of Florida who resides in Hobe

  Sound, Martin County, Florida.

            9.    Defendant, Aetna Life Insurance Company, is a Connecticut corporation

  with its principal place of business in Hartford, Connecticut.

            10.   Aetna offers health benefits plans to employers and individuals in

  Florida and across the country.

            11.   Aetna is a global health care benefits company, which, along with its

  wholly owned and controlled subsidiaries, offers, insures, underwrites, and

  administers health benefits plans, including Plaintiffs’ current health benefits plan,

  as detailed herein. Aetna offers, insures, underwrites, and administers such health

  benefits plans for consumers nationwide, including within Palm Beach County and

  Martin County.

                              JURISDICTION AND VENUE
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            12.   Aetna’s actions in administering employer-sponsored health care plans,

  making coverage and benefit determinations under the terms and conditions of the

  health care plans, or processing appeals of coverage and benefit determinations under

  the terms and conditions of the health care plans are governed by ERISA. This Court

  has jurisdiction of this case under 28 U.S.C. § 1331 (federal question jurisdiction) and

  29 U.S.C. § 1132(e) (ERISA).

            13.   This Court has personal jurisdiction over Aetna pursuant to § 48.193(1),

  Florida Statutes, because Aetna has operated, conducted, engaged in, and carried on

  a business in Florida and has an office in Florida. Aetna is also subject to personal

  jurisdiction pursuant to § 48.193(4), Florida Statutes, because it contracted to insure

  Plaintiffs within Florida at the time of contracting.

            14.   Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1),

  because Plaintiffs reside in this judicial district, and under 28 U.S.C. § 1391(b)(2) and

  1391(d), because a substantial part of the events or omissions giving rise to Plaintiffs’

  and Class members’ claims occurred in this judicial district.

                                FACTUAL ALLEGATIONS

     A. Aetna Acts as a Fiduciary for its ERISA Plans.

            15.   Many health plans underwritten or administered by Aetna, including

  the Plaintiffs’ health plans, are employee welfare benefit plans sponsored by private-

  sector employers governed by ERISA (“ERISA plans”).

            16.   The ERISA health insurance plans administered by Aetna are either

  fully insured or self-funded. With respect to fully insured plans, Aetna both

  administers the plan by making all benefit determinations and pays the benefits out

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  of its own assets. With respect to self-funded plans, Aetna administers the plan, but

  the underlying plan sponsor or employer through which the insurance is provided is

  generally responsible for reimbursing Aetna for the benefit payments. Self-funded

  plans with stop-loss provisions require Aetna to pay from its own assets benefits above

  a certain threshold. Thus, with both fully insured plans and self-funded plans with

  stop-loss provisions, a structural conflict of interest exists where Aetna both

  determines whether a beneficiary is eligible for benefits and also pays benefits out of

  its own funds. Aetna also has a conflict of interest as it profits through the increased

  interest generated (and retained by Aetna) in self-funded accounts when PBRT

  treatment is denied.

            17.   When processing benefits for a self-funded plan, Aetna makes all benefit

  determinations and authorizes benefit checks to be issued out of bank accounts that

  Aetna controls. Periodically, Aetna will notify the sponsors of the self-funded plans

  of the need to replenish their accounts so that benefits can be paid. But Aetna

  nevertheless continues to control these accounts and is fully responsible for processing

  the insurance claims and making the determination whether to issue the check from

  these accounts.

            18.   Thus, irrespective of whether a particular ERISA plan is fully insured

  or self-funded, Aetna is the proper party for Plaintiff, and the putative Class, to sue

  because Aetna—not the underlying plan sponsor or employer—made all the relevant

  decisions and wielded the authority to issue benefit checks under the ERISA plans.

            19.   During all relevant times, Aetna acted as a fiduciary with respect to its

  administration of ERISA plans. In particular, Aetna interpreted and applied ERISA

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  plan terms, adjudicated and handled benefit claims, made coverage and benefit

  decisions under the ERISA plans within its discretion, and provided payment under

  the ERISA plans to participants/beneficiaries and their providers. Accordingly, Aetna

  was required to comply with the requirements ERISA imposes on fiduciaries.

            20.   ERISA requires a fiduciary such as Aetna to discharge its duties

  consistent with 29 U.S.C. § 1104, which requires (among other things) that it do so

  “solely in the interest of the participants and beneficiaries” and for the “exclusive

  purpose” of “providing benefits to participants and their beneficiaries” and paying

  reasonable expenses of administering the plan. It must do so with the “care, skill,

  prudence, and diligence” and in accordance with the terms of the plans it administers.

  Aetna violated these requirements.

            21.   As an ERISA fiduciary, Aetna receives medical records evidencing a

  beneficiary’s need for PBRT, including assessments and recommendations by the

  beneficiary’s treating physicians and medical studies and materials demonstrating

  that PBRT is not experimental for the treatment of the beneficiary.

            22.   Part of Aetna’s fiduciary responsibility to its beneficiaries is as a claims

  administrator.

            23.   Rather than afford its beneficiaries a full and fair review of the medical

  records and materials presented by them or their treating physicians, Aetna conducts

  a claim adjudication and handling process with a singular focus—denial.

            24.   In some areas of the United States, the cost to administer PBRT far

  exceeds the cost for traditional IMRT for the same condition; the cost for PBRT can be

  double that of traditional IMRT.

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            25.   Aetna did not act “solely in the interests of the participants and

  beneficiaries” when it denied coverage for PBRT.

            26.   Rather, upon information and belief, Aetna denies coverage for PBRT to

  treat certain cancers because, on average, PBRT is more expensive than traditional

  IMRT or other treatments.

            27.   In violating its fiduciary duties during the claims adjudication and

  handling process and wrongfully denying claims, Aetna elevated its own interests

  above the interests of plan participants and beneficiaries, reflecting its conflict of

  interest when determining whether to cover PBRT. By promulgating and applying its

  PBRT Clinical Policy Bulletin and ignoring information provided by plan participants

  and their treating physicians, Aetna sacrificed the interests of insureds like Plaintiffs

  and the Class so that it could artificially decrease the number and value of claims it

  was required to pay from its own assets (i.e., with respect to fully insured plans and

  self-funded plans with stop-loss provisions requiring Aetna to cover benefits above a

  certain threshold) and the assets of its employer-sponsor customers (i.e., with respect

  to other self-funded plans); moreover, by prioritizing the assets of its employer-sponsor

  customers, Aetna also advanced its own interests in retaining and expanding its

  business with such customers.

     B. Proton Beam Radiation Therapy.

            28.   PBRT is a procedure that uses protons to deliver a curative radiation dose

  to a tumor, while reducing radiation doses to healthy tissues and organs, which results

  in fewer complications and side effects than traditional IMRT.

            29.   With PBRT, protons deposit their energy over a very small area called the

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  “Bragg peak.” The Bragg peak can be used to target high doses of proton beams to a

  tumor, while doing less damage to normal tissues in front of and behind the tumor. The

  concentration of proton beams enables patients to tolerate higher total doses of

  radiotherapy compared with photons, which are used for traditional IMRT.

            30.   There is overwhelming evidence that PBRT is safe and effective and is a

  generally accepted standard of medical practice for the treatment of cancer, including

  breast cancer, within the medical community.

            31.   PBRT has been around and well-accepted for over 30 years. The Food and

  Drug Administration (“FDA”) approved PBRT in 1988 with the following specific

  statement of indications for intended use: “The [Proton Therapy System] is a medical

  device designed to produce and deliver proton beam for the treatment of patients with

  localized tumors and other conditions susceptible to treatment by radiation.”

            32.   The National Association for Proton Therapy, Alliance for Proton Therapy

  and other nationally-recognized medical organizations, and numerous meticulous peer-

  reviewed studies have validated the safety and effectiveness of PBRT.

            33.   Additionally, many respected cancer facilities and providers, including

  Baptist Hospital’s Miami Cancer Institute, MD Anderson Cancer Center, Loma Linda

  University, University of Florida, Harvard Medical School/Massachusetts General

  Hospital, University of Maryland, Northwestern University, Mayo Clinic, Emory

  University, Case Western Reserve University, Washington University in St. Louis,

  University of Washington, New York Proton Center, and the Texas Center for Proton

  Therapy recommend and use PBRT on a regular basis.

            34.   Other insurers, including Medicare, cover PBRT as a safe and effective

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  treatment for cancer that is not “experimental.”

     C. Aetna’s PBRT Clinical Policy Bulletin.

            35.   Aetna drafted and implemented the PBRT Clinical Policy Bulletin based

  on outdated medical evidence and ignoring accepted medical peer-reviewed evidence

  that it is safe and effective for the treatment of cancer. The revisions of the PBRT

  Clinical Policy Bulletin throughout the years has been entirely divorced from careful

  analysis and application of medical science.

            36.   Prior to 2013, Aetna considered PBRT medically necessary for non-

  metastatic prostate cancer in individuals with an intact prostate. In August 2013, the

  PBRT Clinical Policy Bulletin was revised to state that PBRT was not medically

  necessary for localized, non-metastatic prostate cancer. The PBRT Clinical Policy

  Bulletin in effect from January 2020 to October 9, 2020 likewise stated that Aetna did

  not consider PBRT medically necessary for individuals with localized prostate cancer.

  The review of that policy took place on March 12, 2020. On October 9, 2020, Aetna

  stated that PBRT and IMRT are clinically equivalent for localized cancer of an intact

  prostate.

            37.   There are no medical studies that support that PBRT would be a proven,

  safe, effective, and medically necessary treatment for non-metastatic prostate cancer

  before 2013, but not after 2013.

            38.   Additionally, the PBRT Clinical Policy Bulletin provides that Aetna

  considers PBRT “experimental and investigational” for most types of cancers in

  “adults (over age 21) . . . because its effectiveness for these indications has not been

  established”; on the other hand, Aetna considers PBRT “medically necessary” to treat

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  all “[m]alignancies in children (21 years of age and younger),” as well as certain listed

  types of tumors. Aetna’s PBRT Clinical Policy Bulletin does not consider PBRT

  “experimental and investigational” when treating children (21 years of age and

  younger), and approves PBRT for these patients. There are no medical studies that

  support a conclusion that PBRT would be a proven, safe and effective treatment for

  the same cancer in one age group, but not the other.

            39.     Aetna employs the PBRT Clinical Policy Bulletin as part of its prior

  authorization review and adjudication of members and beneficiaries’ claims to deny

  claims for coverage of PBRT as “experimental or investigational” or not “medically

  necessary” without ever engaging in any reasonable review of clinical records prior to

  rendering the determination of coverage.

             40.     In other words, Aetna cites the PBRT Clinical Policy Bulletin to

   categorically deny prior authorization requests and claims for reimbursement for

   PBRT to most cancers on the grounds that PBRT is not medically necessary without

   regard to the recommendation and assessment of the patients’ own oncologist or

   medical records.

                                 INDIVIDUAL ALLEGATIONS

     A. Plaintiff Sharon Prolow.

            1. Ms. Prolow’s Plan.

            41.      Ms. Prolow participates in an employee welfare benefit health plan (the

  “Plan”)         established   by   Ms.   Prolow’s   employer,    AllianceBernstein   P.L.

  (“AllianceBernstein”). The Plan is governed by the Employee Retirement Income

  Security Act (“ERISA”), 29 U.S.C. § 1001, et seq.

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            42.    While the Plan is offered and funded by AllianceBernstein, it is

  administered by Aetna.        Aetna exercises discretionary authority or discretionary

  control with respect to the management of the Plan and has discretionary authority

  or discretionary responsibility in the administration of the Plan.

            43.    Ms. Prolow continues to be a beneficiary of The Plan.

            44.    The Plan includes a list of “Exclusions,” which are deemed to be services

  that are not covered under the Plan. One such Exclusion is for services deemed

  “Experimental       or   Investigational”   (the   “E/I   Exclusion”).   “Experimental   or

  Investigational” is defined as:

            A drug, device, procedure, or treatment that is found to be experimental
            or investigational because:
                • There is not enough outcome data available from controlled
                   clinical trials published in the peer-reviewed literature to
                   validate its safety and effectiveness for the illness or injury
                   involved
                • The needed approval by the FDA has not been given for
                   marketing
                • A national medical or dental society or regulatory agency has
                   stated in writing that it is experimental or investigational or
                   suitable mainly for research purposes
                • It is the subject of a Phase I, Phase II or the experimental or
                   research arm of a Phase III clinical trial. These terms have the
                   meanings given by regulations and other official actions and
                   publications of the FDA and Department of Health and Human
                   Services
                • Written protocols or a written consent form used by a facility
                   provider state that it is experimental or investigational.

            45.    Radiation therapy is a procedure, and therefore, is not subject to FDA

  regulation.

            46.    The accelerators and other equipment used to generate and deliver

  PBRT are regulated by the FDA. On February 22, 1988, the FDA approved the Proton

  Therapy System, and designated it as a Class II Device for radiological treatment.
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  This classification was codified at 21 C.F.R. § 892.5050 and describes the Proton

  Therapy System as a “device that produces by acceleration high energy charged

  particles (e.g., electrons and protons) intended for use in radiation therapy.” Thus, at

  least as of February 22, 1988, PBRT no longer fit within the E/I Exclusion to the Plan.

            47.   PBRT has long been recognized as an established, medically appropriate

  treatment for the treatment of cancer, including breast cancer.

            2. Aetna’s Denial of Coverage for PBRT for Ms. Prolow.

        48.       Ms. Prolow was first diagnosed with breast cancer in October 2017. She

  underwent a double mastectomy in November 2017 and remained cancer-free until

  August 2018, when she suffered a recurrence of her breast cancer.

        49.       Although cancer recurrence rates vary based on several factors, overall,

  there is a 30% rate of recurrence of breast cancer in survivors.2

        50.       After undergoing chemotherapy in late 2018, Ms. Prolow’s radiation

  oncologist, Dr. Marcio Fagundes of Miami’s Cancer Institute (“MCI”) at Baptist Health

  South Florida, recommended that Ms. Prolow undergo PBRT as an alternative to

  IMRT because, among other things, the likelihood of achieving a better outcome was

  greater for PBRT.

            51.   Aetna denied Ms. Prolow’s request for pre-authorization of PBRT, and

  Ms. Prolow appealed the decision.

            52.   On March 6, 2019, Aetna upheld the denial of Ms. Prolow’s request for

  pre-authorization of PBRT based on its application of the PBRT Clinical Policy


  2 See Blevins Primeau, Andrea, PhD, MBA, Cancer Recurrence Statistics, available at
  https://www.cancertherapyadvisor.com/home/tools/fact-sheets/cancer-recurrence-
  statistics/
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  Bulletin:

            We reviewed information received about the members condition and
            circumstances. We used the [PBRT Clinical Policy Bulletin, or “CPB”].
            Based on CPB criteria, and the information we have, we are denying
            coverage for proton beam radiotherapy. Clinical studies have not proven
            that this procedure is effective for treatment of the member’s condition.

            53.    On March 14, 2019, Dr. Fagundes appealed on Ms. Prolow’s behalf,

  asking that Aetna reconsider its decision to deny coverage or payment for PBRT on

  the basis of the PBRT Clinical Policy Bulletin.

            54.    Dr. Fagundes asked that Aetna overturn its decision because of the

  FDA’s approval of proton therapy on February 22, 1988. He further noted that Ms.

  Prolow “is a perfect example of a very complex scenario” that would benefit from PBRT

  in order to avoid “significant cardiac exposure.”

            55.    Moreover, Dr. Fagundes emphasized that “Baptist Health in an effort to

  minimize price as a factor in any coverage determination and to allow decision making

  to focus on the clinical efficacy and best treatment for the patient has set the charge

  for proton beam therapy at the same rate as for IMRT.”

            56.    Aetna refused to overturn its denial of PBRT coverage to Ms. Prolow. In

  denying coverage, Aetna failed to discuss or even acknowledge the information

  provided by Dr. Fagundes supporting PBRT, including the many studies verifying its

  safety and efficacy. Indeed, Aetna provided Ms. Prolow with no basis for its negative

  coverage determination aside from its reliance—to the exclusion of all contrary

  evidence—on Aetna’s PBRT Clinical Policy Bulletin.

            57.    Aetna adjudicated the claim and handled Ms. Prolow’s claim adjustment

  process without a full and fair review of the materials provided by Ms. Prolow and her

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  treating physicians.

            58.   At every step of the claims and appeals process, Aetna exercised the

  discretionary authority given to it by AllianceBernstein to interpret the Plan terms

  and make claims decisions. Ms. Prolow then requested an external review of Aetna’s

  decision to deny her request for PBRT to treat her breast cancer.

            59.   On April 1, 2019, the so-called independent review organization,

  Medical Care Management Corporation (“MCMC”), rejected Ms. Prolow’s request for

  reconsideration of Aetna’s denial and concluded that PBRT was not covered.

            60.   During the external appeal process, MCMC did nothing more than

  rubber stamp Aetna’s denial decision without conducting an independent evaluation

  of whether PBRT is a proven and effective treatment for breast cancer.

            61.   MCMC     and   other   so-called   independent,   or   external,   review

  organizations are, in fact, paid by and unilaterally selected by Aetna. As a result, to

  continue their business relationship with Aetna, these organizations have a

  disincentive to overrule Aetna’s denial decisions.

            62.   Pursuing all avenues of appeals available from Aetna caused Ms. Prolow

  and her family significant stress and anguish, particularly as it further delayed her

  receipt of life-saving PBRT treatment. Because of Aetna’s delays during the appeals

  process, Ms. Prolow did not begin PBRT until around 3 months after concluding

  chemotherapy.

            63.   Ms. Prolow ultimately decided to follow the recommendation of her

  radiation oncologist and received PBRT to treat her breast cancer, with success. She

  was forced to personally pay approximately $85,000 for the treatment out-of-pocket.

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  Aetna has not reimbursed Ms. Prolow for the PBRT treatment. Additionally, because

  she received PBRT treatment 100 miles away from her home, she had to stay at a hotel

  throughout her treatment, which was unreimbursed. As a result, in all, Ms. Prolow

  incurred out-of-pocket expenses of around $100,000 for PBRT treatment.

            64.    If Ms. Prolow’s breast cancer recurs again and her oncologist

  recommends PBRT treatment she will again follow her oncologist’s advice.

     B. Plaintiff Mark Lemmerman.

            1. Mr. Lemmerman’s Plan.

            65.    Mr. Lemmerman participates in an employee welfare benefit health

  plan (the “Plan”) established by his employer, Covanta Projects LLC (“Covanta”). The

  Plan is governed by the Employee Retirement Income Security Act (“ERISA”), 29

  U.S.C. § 1001, et seq.

            66.    While the Plan is offered and funded by Covanta, it is administered by

  Aetna. Aetna exercises discretionary authority or discretionary control with respect

  to the management of the Plan and has discretionary authority or discretionary

  responsibility in the administration of the Plan.

            67.    Mr. Lemmerman continues to be a beneficiary of The Plan.

            68.    The Plan includes a list of “Exclusions,” which are deemed to be services

  that are not covered under the Plan. One such Exclusion is for services deemed

  “Experimental       or   Investigational”   (the   “E/I   Exclusion”).   “Experimental   or

  Investigational” is defined as:

            A drug, device, procedure, or treatment that is found to be experimental
            or investigational because:
                • There is not enough outcome data available from controlled
                   clinical trials published in the peer-reviewed literature to
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                      validate its safety and effectiveness for the illness or injury
                      involved
                  •   The needed approval by the FDA has not been given for
                      marketing
                  •   A national medical or dental society or regulatory agency has
                      stated in writing that it is experimental or investigational or
                      suitable mainly for research purposes
                  •   It is the subject of a Phase I, Phase II or the experimental or
                      research arm of a Phase III clinical trial. These terms have the
                      meanings given by regulations and other official actions and
                      publications of the FDA and Department of Health and Human
                      Services
                  •   Written protocols or a written consent form used by a facility
                      provider state that it is experimental or investigational.

            69.       Radiation therapy is a procedure, and therefore, is not subject to FDA

  regulation.

            70.       The accelerators and other equipment used to generate and deliver

  PBRT are regulated by the FDA. On February 22, 1988, the FDA approved the Proton

  Therapy System, and designated it as a Class II Device for radiological treatment.

  This classification was codified at 21 C.F.R. § 892.5050 and describes the Proton

  Therapy System as a “device that produces by acceleration high energy charged

  particles (e.g., electrons and protons) intended for use in radiation therapy.” Thus, at

  least as of February 22, 1988, PBRT no longer fit within the E/I Exclusion to the Plan.

            71.       PBRT has long been recognized as an established, medically appropriate

  treatment for the treatment of cancer, including prostate cancer.

            2. Aetna’s Denial of Coverage for PBRT for Mr. Lemmerman.

        72.           Mr. Lemmerman was first diagnosed with non-metastatic prostate

  cancer in January 2020.

        73.           Mr. Lemmerman’s radiation oncologists recommended that he undergo

  PBRT as an alternative to IMRT to avoid delivering radiation to critical normal organs
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  and tissues, including the bowel, the bladder, and the rectum.

            74.   Aetna denied Mr. Lemmerman’s request for pre-authorization of PBRT

  in January 2020. Mr. Lemmerman appealed.

            75.   Aetna received Mr. Lemmerman’s first appeal on February 14, 2020, and

  upheld the decision within one day—on February 15.

            76.   Aetna received Mr. Lemmerman’s second appeal on April 10, 2020, and

  again upheld the decision within one day—on April 11.

            77.    In support of his appeal, Mr. Lemmerman submitted a letter from his

  oncologist, Dr. Scott A. Gasiorek.

            78.    Dr. Gasiorek provided the opinion that, in the case of Mr. Lemmerman,

  PBRT “is medically necessary and will provide him with a good chance of cure while

  simultaneously limiting his chances of developing significant acute and late

  treatment-related morbidities to the greatest extent possible.”

            79.    Dr. Gasiorek explained:

            It should also be noted that the clinical appeal of and desire to employ
            proton therapy is motivated by the same rationale which has underlain
            virtually all advances in radiation therapy, namely, the desire to reduce
            to the lowest extent possible radiation of healthy normal tissue.
            Radiation is a known toxin and there is no benefit whatsoever to
            depositing radiation in tissue uninvolved with cancer.

            80.    Aetna refused to overturn its denial of PBRT coverage to Mr.

  Lemmerman. In denying coverage, Aetna failed to discuss or even acknowledge the

  information provided by Dr. Gasiorek supporting PBRT, including the many studies

  verifying its safety and efficacy. Indeed, Aetna provided Mr. Lemmerman with no

  basis for its negative coverage determination aside from its reliance—to the exclusion

  of all contrary evidence—on Aetna’s PBRT Clinical Policy Bulletin.
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            81.   Mr. Lemmerman then requested an external review of Aetna’s decision

  to deny his request for PBRT to treat his prostate cancer.

            82.   On June 17, 2020, the so-called independent review organization,

  Medical Care Management Corporation (“MCMC”), concluded that PBRT was not

  covered.

            83.   During the external appeal process, MCMC did nothing more than

  rubber stamp Aetna’s denial decision without conducting an independent evaluation

  of whether PBRT is a proven and effective treatment for prostate cancer. Neither

  Aetna nor MCMC properly applied the terms in Mr. Lemmerman’s Plan.

            84.   Aetna adjudicated the claim and handled Mr. Lemmerman’s claim

  adjustment process without a full and fair review of the materials provided by him

  and his treating physicians.

            85.   At every step of the claims and appeals process, Aetna exercised the

  discretionary authority given to it by Covanta to interpret the Plan terms and make

  claims decisions.

            86.   In each decision to uphold the denial of Mr. Lemmerman’s request for

  pre-authorization of PBRT, Aetna cited its PBRT Clinical Policy Bulletin as the basis

  for its decision. MCMC likewise cited Aetna’s PBRT Clinical Policy Bulletin as the

  basis for its decision.

            87.   There were no significant clinical developments in PBRT from the time

  Aetna denied Plaintiff’s second appeal of PBRT in April 2020, until October 9, 2020,

  the effective date of the revisions to the PBRT Policy, which recognized that PBRT and

  IMRT are clinically equivalent for localized cancer of an intact prostate.

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            88.    MCMC     and   other   so-called   independent,   or   external,   review

  organizations are, in fact, paid by and unilaterally selected by Aetna. As a result, to

  continue their business relationship with Aetna, these organizations have a

  disincentive to overrule Aetna’s denial decisions.

            89.    Notwithstanding Aetna’s denial of coverage, Mr. Lemmerman proceeded

  to have PBRT, with positive results. However, Mr. Lemmerman ultimately was forced

  to personally pay approximately $ 35,000 (after deducting applicable and negotiated

  discounts from his treatment provider) for PBRT out-of-pocket. Aetna has not

  reimbursed Mr. Lemmerman for the treatment.

            90.    Although cancer recurrence rates vary based on several factors, there is

  about a 20-30% rate of recurrence of prostate cancer in survivors.3

            91.    If Mr. Lemmerman’s prostate cancer recurs again and his oncologist

  recommends PBRT treatment he will again follow his oncologist’s advice.

                              CLASS ACTION ALLEGATIONS

            92.    The proposed PBRT Class meets all requirements of Fed. R. Civ. P.

  23(a) and 23(b).

      A. The Class.

            93.    Plaintiffs bring claims on their own behalf and on behalf of a nationwide

  “PBRT Class,” defined as:

             All participants or beneficiaries in ERISA Plans underwritten or
             administered by Aetna who, citing the application of the PBRT Clinical
             Policy Bulletin, were denied health insurance coverage for Proton Beam

  3  See Johns Hopkins Medicine, Prostate Cancer Prognosis, available                      at
  https://www.hopkinsmedicine.org/health/conditions-and-diseases/prostate-
  cancer/prostate-cancer-prognosis.

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             Radiation Therapy to treat their cancer, on grounds that included the
             assertion that it was “experimental or investigational” or not “medically
             necessary.” The PBRT Class includes both persons whose post-service
             claims for reimbursement were denied and persons whose pre-service
             requests for authorization were denied.

            94.    The definition of “experimental or investigational” services or treatment

  in Aetna’s health insurance policies at all relevant times has been substantially

  similar to the definition in the Plan and is interpreted by Aetna as having the same

  meaning as, comparable exclusions included in the Aetna plans applicable to all Class

  members.

            95.    The PBRT Class excludes (a) Aetna, including any entity or division in

  which Aetna has a controlling interest, as well as its agents, representatives, officers,

  directors, employees, trustees, and other entities related to, or affiliated with Aetna,

  (b) Class Counsel, and (c) the Judge to whom this case is assigned and any members

  of the Judge’s staff or immediate family.

     B. Numerosity.

            96.    The members of the PBRT Class are so numerous that joinder of all

  members is impractical.

            97.    While the precise number of members in this Class is known only to

  Aetna, Aetna is the ERISA fiduciary and has issued the policies providing coverage

  under tens of thousands of employer-sponsored ERISA plans, and PBRT has become

  so widespread that at a minimum, requests numbering in the hundreds, if not

  thousands, must have been submitted to and denied by Aetna for coverage of this

  therapy.

            98.    The PBRT Class is ascertainable because its members can be readily

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  identified using Aetna’s claims data. PBRT therapy is described with a discrete set of

  procedure codes under the Current Procedural Terminology (“CPT”) promulgated by

  the American Medical Association. Accordingly, Class members can be readily and

  objectively ascertained through use of records maintained by Aetna.

            99.    Finally, PBRT Class members are dispersed geographically throughout

  the United States, such that joiner of all members is impracticable.

     C. Predominance of Common Issues.

            100.   This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and

  23(b)(3) because questions of law and fact that have common answers predominate

  over questions affecting only individual Class members.         These include, without

  limitation:

                   a. Whether PBRT therapy is an “experimental or investigational”

                      service or treatment;

                   b. Whether the Aetna PBRT Clinical Policy Bulletin is based on

                      outdated medical evidence;

                   c. Whether Aetna improperly denied coverage for PBRT treatment

                      under its plans’ E/I Exclusion;

                   d. Whether Aetna acted as an ERISA fiduciary when it adjudicated

                      claims of Plaintiffs and class members;

                   e. Whether Aetna categorically applied the Aetna PBRT Clinical Policy

                      Bulletin to deny coverage to PBRT Class members;

                   f. Whether PBRT Class members’ claim denials were based in whole or

                      in part on the Aetna PBRT Clinical Policy Bulletin;

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                   g. Whether Aetna breached its fiduciary duty to PBRT Class members

                      by failing to consider or not granting the proper weight to information

                      provided by PBRT Class members and their treating physicians to

                      Aetna during the claims adjudication and handling process;

                   h. Whether Aetna’s application of the Aetna PBRT Clinical Policy

                      Bulletin constituted a violation of ERISA; and

                   i. Whether PBRT Class members are entitled to the relief sought if

                      Plaintiffs establishes liability.

     D. Typicality.

            101.   Plaintiffs’ claims are typical of the claims of PBRT Class members

  because Plaintiffs are beneficiaries of an ERISA Plan administered by Aetna, they

  submitted claims for coverage of PBRT for treatment of their cancers, and, like other

  PBRT Class members, Aetna denied their claims based on the PBRT Clinical Policy

  Bulletin while failing to conduct a full and fair review of the information provided them

  and their treating physicians during the claim process.

     E. Adequacy of Representation.

            102.   Plaintiffs will fairly and adequately protect the interests of the Class.

  Plaintiffs’ interests do not conflict with the interests of the members of the Class.

  Further, Plaintiffs have retained counsel who are competent and experienced in

  complex class action litigation, and Plaintiffs and their counsel intend to prosecute

  this action vigorously on behalf of the Class members and have the financial resources

  to do so. Neither Plaintiffs nor their counsel have any interest adverse to those of the

  Class members.
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     F. Superiority.

            103.   This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1) because

  the prosecution of separate actions by individual Class members would create a risk

  of inconsistent or varying adjudications that could establish incompatible standards of

  conduct for Aetna.

            104.   This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

  by applying a uniform policy treating PBRT as “experimental, investigational or

  unproven,” Aetna has acted and refused to act on grounds that apply generally to the

  Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible

  standards of conduct towards Class members, and making final injunctive relief or

  corresponding declaratory relief appropriate respecting the proposed Class as a whole.

            105.   This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because

  a class action is superior to other available methods for the fair and efficient

  adjudication of this controversy. Questions of law and fact common to the Class

  members predominate over any questions affecting only individual members.

            106.   A class action is superior to other available methods for the fair and

  efficient adjudication of this controversy because joinder of all Class members is

  impracticable. Further, because the unpaid benefits denied Class members are small

  relative to the expense and burden of individual litigation, it would be impossible for

  the members of the Class to redress individually the harm done to them, such that

  most or all Class members would have no rational economic interest in individually

  controlling the prosecution of specific actions, and the burden imposed on the judicial

  system by individual litigation by even a small fraction of the Class would be

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  enormous, making class adjudication the superior alternative under Fed. R. Civ. P.

  23(b)(3)(A).

            107.   The conduct of this action as a class action presents far fewer

  management difficulties, far better conserves judicial resources and the parties’

  resources, and far more effectively protects the rights of each Class member than

  would piecemeal litigation. Compared to the expense, burdens, inconsistencies,

  economic infeasibility, and inefficiencies of individualized litigation, the challenges of

  managing this action as a class action are substantially outweighed by the benefits to

  the legitimate interests of the parties, the court, and the public of class treatment in

  this court, making class adjudication superior to other alternatives, under Fed. R. Civ.

  P. 23(b)(3)(D).

                                           COUNT I

                         IMPROPER DENIAL OF BENEFITS
                     ON BEHALF OF PLAINTIFFS AND THE CLASS

            108.   Plaintiffs incorporate by reference paragraphs 1 through 107 as if fully

   stated herein.

            109.   This count is brought pursuant to 29 U.S.C. § 1132(a)(1)(B).

            110.   Aetna denied the insurance claims for PBRT submitted by Plaintiffs and

  other Class members in violation of the terms of the Plan and the other Aetna plans

  that insure members of the Class. Aetna denied these claims based on its E/I

  Exclusion, which does not properly apply to PBRT.

            111.   PBRT is neither experimental nor investigational.

            112.   Plaintiffs and Class members have been harmed by Aetna’s improper

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  benefit denials because they were deprived of insurance benefits they were owed.

            113.   Plaintiffs and Class members seek the relief identified in the Prayer for

  Relief to remedy this claim.

                                    PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs demand judgment in their favor and against Aetna as

   follows:

            i.     Certifying the Class, as set forth in this Complaint, and appointing

                   Plaintiffs as Class Representatives and undersigned counsel as Class

                   Counsel;

            ii.    Declaring that Aetna wrongfully denied benefits for PBRT treatment to

                   Plaintiffs and members of the Class.

            iii.   Declaring that Aetna’s claims adjudication and handling of Plaintiffs and

                   PBRT Class members’ claims fails to adequately consider all relevant and

                   important information before making a claim determination;

            iv.    Awarding Plaintiffs and PBRT Class members their unpaid benefits and

                   ordering Aetna to create a common fund out of which it will make

                   payment, with interest, of any unpaid benefits to Plaintiffs and PBRT

                   Class members;

            v.     In the alternative, ordering Aetna to reprocess Plaintiffs’ and PBRT

                   Class members’ claims for pre-authorization or reimbursement of PBRT

                   for the treatment of cancer without the application of the PBRT Clinical

                   Policy Bulletin and granting full weight to information provided to Aetna

                   by Plaintiffs, PBRT Class members, and their treating physicians.

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            vi.     Ordering Aetna to institute a claims process for future claims that does

                    not apply the PBRT Clinical Policy Bulletin and grants full and fair

                    weight to information provided to Aetna by Plaintiffs, PBRT Class

                    members and their treating physicians.

            vii.    Awarding Plaintiffs disbursements and expenses of this action, including

                    reasonable attorneys’ fees pursuant to 29 U.S.C. § 1132(g)(1), in amounts

                    to be determined by the Court; and

            viii.   Granting such other and further relief as is just and proper.

  DATED: April 28, 2021.

                                               Respectfully submitted,

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